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18                                     UNITED STATES DISTRICT COURT
19                                    EASTERN DISTRICT OF CALIFORNIA

20
      LETRINH HOANG, D.O., PHYSICIANS FOR
21    INFORMED CONSENT, a not-for-profit organization,
      and CHILDREN’S HEALTH DEFENSE,
22    CALIFORNIA CHAPTER, a California Nonprofit         Case No: 2:22-cv-02147-WBS-AC
23    Corporation
                        Plaintiffs,
24
                         v.
25                                                       JOINT STATUS REPORT
      ROB BONTA, in his official capacity as Attorney
26    General of California and ERIKA CALDERON, in her
      official capacity as Executive Officer of the      Action Commenced: December 1, 2022
27    Osteopathic Medical Board of California (“OMBC”)
28
                              Defendants.


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 1          Pursuant to the Court’s Order dated December 8, 2022, and Local Rule 240, the parties
 2
     submit this joint status report:
 3
            The salient procedural points in this case are as follows:
 4
 5      1. By order of this Court dated January 25, 2023, a preliminary injunction was issued
 6
            barring enforcement of Business and Professional Code Section 2270 against the
 7
            individual Plaintiff and members of the organizational Plaintiffs, together with the five
 8
 9          individually named Plaintiffs in the related case Hoeg et al. v. Newsom, et al., 2:22-cv-
10
            1980.
11
        2. The decision by Judge Fred W. Slaughter denying similar relief in McDonald et al. v.
12
13          Lawson et. al., is currently on appeal. Appeal No. 22-56220 (consolidated with Couris
14
            et al v. Lawson et. al. Appeal No. 23-55069)
15
        3. At defense counsel’s request, Plaintiffs agreed to extend the Defendants’ time to answer
16
17          or move against the complaint until after the Ninth Circuit renders its decision in the
18
            McDonald appeal per the so ordered stipulation in this case, (Dkt. Entry. 34).
19
        4. Both this and the Hoeg case are set for a status conference on April 10, 2023 at 1:30 PM
20
21      5. There are no additional parties that need or be joined or additional claims that Plaintiffs
22
            intend to assert.
23
        6. Discovery has not yet commenced.
24
25      7. This is a facial challenge to Business and Professional Code Section 2270 on First and
26
            Fifth/Fourteenth Amendment grounds. It is possible that one or both claims can be
27
            completely adjudicated based on a stipulated record or judicial notice and limited
28
            declarations. Therefore, Plaintiffs propose that the case be allowed to proceed to

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 1           summary judgment, motions to be filed by May 1, 2023.
 2
          8. Defendants agree that this case does not likely require discovery to resolve the
 3
             underlying statute’s constitutionality. Since the determination of the Ninth Circuit in
 4
 5           the Couris and McDonald cases challenging the same statute on the same grounds will
 6
             have significant impact on litigation strategies and the outcome of this case,
 7
             Defendants’ position is that this Court should wait until the pending Ninth Circuit cases
 8
 9           are resolved and Defendants have responded to the complaint for any further
10
             proceedings in this matter. Because Plaintiffs have obtained a preliminary injunction,
11
             they will suffer no harm in waiting for the Ninth Circuit’s resolution before further
12
13           proceedings.
14
          9. That is the issue to be decided by the Court at the status conference in this case and
15
             likely in the Hoeg related case (based on the February 14, 2023 initial joint status report
16
17           filed in that case (Dkt. Entry 37).
18
          10. As the Plaintiff organizations are non-profit entities, there is no potential financial
19
             interest or other potential conflicts with the Court.
20
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //


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     Case 2:22-cv-02147-WBS-AC Document 35 Filed 03/21/23 Page 4 of 4


 1
 2   Dated: March 21, 2023
 3                                     Respectfully submitted,
 4
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